Case 2:20-cv-00281-JRG Document 440-1 Filed 11/29/21 Page 1 of 1 PageID #: 24311




                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  KAIFI LLC,                                           §
                                                       §
                 Plaintiffs,                           §
                                                       §
  v.                                                   §        CASE NO. 2:20-cv-281-JRG
                                                       §
  T-MOBILE US, INC. and T-MOBILE USA,                  §
  INC.,                                                §
                                                       §
                 Defendant.                            §
                                                       §

                               CERTIFICATE OF CONFERENCE

        I certify that counsel for the parties have complied with the meet and confer requirement in

 Local Rule CV-7(h). Plaintiff opposes the motion.


                                                       /s/ Josh A. Krevitt
                                                      Josh A. Krevitt
